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                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
                             OFFICE OF THE CLERK
                              Byron White United States Courthouse
                                       1823 Stout Street
                                    Denver, Colorado 80257
                                        (303) 844-3157
Elisabeth A. Shumaker                                                         Douglas E. Cressler
Clerk of Court                         May 28, 2008                           Chief Deputy Clerk


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Albuquerque, NM 87102

RE:       08-2066, United States v. Jarvis
          Dist/Ag docket: 1:05-CR-1849-JCH-1

Dear Counsel and Clerk:

Attached please find an order issued today by the court dismissing this case.

In addition, please be advised that the mandate for this case has issued today. The clerk of
the originating court shall file accordingly. Please contact this office if you have
questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court

EAS/sds
